
On March 7, 1975 the court ordered that judgment be entered for the plaintiffs and in the amounts listed below:
American Export Lines, Inc- $841, 271. 00
American President Lines, Ltd- 421,447. 66
Farrell Lines Incorporated- 320,909.65
*905Gulf &amp; South American Steamship Co.,. Inc_ $78, 903.30
Lykes Bros. Steamship Co., Inc__ 703,,439.77
Moore-McCormack Lines, Inc_ 1, 018,553.26
Prudential Lines, Inc_ 894,943. 00
PSS Steamship Company, Inc_ 55-, 593.41
United States Lines, Inc_ 926,523.49
